













NUMBER 13-09-00465-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


_____________________________________________________________


WILLIAM GILL, 	Appellant,


v.



THE STATE OF TEXAS, 	Appellee.

______________________________________________________________


On appeal from the 214th District Court 


of Nueces County, Texas.


_____________________________________________________________


MEMORANDUM OPINION


	

Before Justices Rodriguez, Garza, and Benavides


Memorandum Opinion Per Curiam


	Appellant, William Gill, filed a notice of appeal challenging his conviction for
intoxication manslaughter.  By order signed October 9, 2009, the trial court granted
appellant's motion for new trial.

	When the trial court grants a motion for new trial, it restores the case to its position
before the former trial.  See Tex. R. App. P. 21.9(b).  Because there is no conviction to be
appealed, we have no jurisdiction to consider this appeal.  See Waller v. State, 931 S.W.2d
640, 643-44 (Tex. App.-Dallas 1996, no pet.).

	The Court, having examined and fully considered the documents on file and the trial
court's order granting a new trial, is of the opinion that the appeal should be dismissed for
want of jurisdiction.  See id.  The appeal is hereby DISMISSED FOR WANT OF
JURISDICTION.

							PER CURIAM


Do not publish.  

Tex. R. App. P. 47.2(b).

Delivered and filed the

28th day of January, 2010. 





	


